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 Via ECF

 December 19, 2023


 Hon. Nusrat J. Choudhury
 United States District Judge
 Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722


 Clarke et al. v. ALAA et al. (2:23-cv-08869) (NJC) (ARL)
 Letter re: Plaintiffs’ Request for a Preliminary Injunction



 Dear Judge Choudhury:

        In response to this Court’s Minute Entry and Scheduling Order, entered on December 18,
 2023, in the above-referenced case, we write on behalf of Plaintiffs to respectfully notify the
 Court and Defendants that Plaintiffs will not pursue a motion for preliminary injunction.

                                                                                                   Respectfully Submitted,

                                                                                                   /s/ Sara N. Raisner
                                                                                                       Sara N. Raisner

 Cc: All Counsel (via ECF)




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